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Reg. No. 6,530,464            Pride Houston, Inc. (TEXAS CORPORATION)
                              401 Branard St., #100
Registered Oct. 19, 2021      Houston, TEXAS 77006
Int. Cl.: 35                  CLASS 35: Promoting public awareness of the need for diversity and equal rights in a
                              community comprising gay, lesbian, bisexual, transsexual, queer, intersex, asexual and
Service Mark                  questioning persons as well as promoting public awareness of the need to commemorate
Principal Register            and celebrate the history of the gay and lesbian community

                              FIRST USE 6-26-1978; IN COMMERCE 6-26-1978

                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                              ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                              SEC.2(F)

                              SER. NO. 90-448,502, FILED 01-05-2021




                                                                                                    Exhibit 6
